                          Case 2:18-cr-00051-AC Document 8 Filed 04/30/18 Page 1 of 1
                                       UNITED STATES DISTRICT COURT
                                                   for the
                                     EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,                                                       Case Number: 2:18CR0051-AC-1

v.                                                                              JUDGMENT IN CRIMINAL CASE

TEONDRA D. BROWNE
Defendant pleaded guilty, is adjudged guilty and convicted of the following offense(s):

Charge(s) Defendant Convicted of:                                             Nature of Charge(s)
18§ 641                                                                       THEFT OF GOVERNMENT PROPERTY

ACCORDINGLY, YOU ARE HEREBY SENTENCED TO THE FOLLOWING:

☒ PROBATION for a term of 24 months, expiring on 04/30/2020 . Your conditions of probation are as follows:

      1.      Your probation is unsupervised.
      2.      You shall not commit another federal, state, or local crime.
      3.      You shall notify the court and, if represented by counsel, your counsel of any change of address and contact number; and the
              following additional checked conditions:
   ☒          You shall pay a fine in the amount of $500.00 , a special assessment of $25.00 , restitution in the amount of $ , and a $0 processing
              fee for a total financial obligation of $525.00 , which shall be paid immediately or in monthly payments of $21.88 , per month
              commencing on and each month until paid in full. While on probation and subject to any financial obligation of probation, you
              shall notify the court of any material change in your economic circumstances that might affect your ability to pay the fine.
   ☐          You shall perform hours of community service by .
   ☐          You are hereby committed to the Bureau of Prisons to be imprisoned for a term of months beginning immediately or by
              reporting to the United States Marshal located at 501 I Street, 5th Floor, Sacramento, California, 95814 unless a different reporting
              time has been reported prior to that date.
   ☐          Other:
☐ PAY a fine in the amount of $ , a sp ecial assessment of $0 and a $0 processing fee for a total financial obligation of $0 due
immediately or no later than .

☐ YOU ARE ALSO ORDERED TO APPEAR for a REVIEW HEARING on at and ORDERED TO file a Status Report 14 days prior to
your scheduled hearing. Please note that failure to appear could result in an arrest warrant being issued against you.

☐ OTHER:

IT IS FURTHER ORDERED that financial payments shall be made by CHECK or MONEY ORDER and will be subject to
late/delinquent charges imposed by the Court if not paid timely. If your conviction also involves a moving violation, an abstract
could be placed on your driving record for failure to pay. The check or money order must be made payable to:
“CLERK- U.S.D.C.” and SENT to the following address:

     CLERK, UNITED STATES DISTRICT COURT
     Eastern District of California- Sacramento
     501 I Street, Suite 4-200
     Sacramento, CA 95814

Your check or money order must indicate your name and case number shown above to ensure your account is credited for
payment received and that no late fees or warrants/abstracts are attached to your case for failure to pay.

D A T E D : 4 /30 /2018                                                                   /s/ Allison Claire
                                                                                          Allison Claire
                                                                                          United States Magistrate Judge
CRD Initials: VKC
